
PER CURIAM
Writ granted. The court of appeal's ruling is reversed, and the district court's ruling is reinstated. Defendant's pleading captioned as a "Motion to Declare La. R.S.14:2(B)(25) Unconstitutional" is an action that contests the computation of his "good time" date (albeit one based on constitutional claims), and therefore venue is in the parish of East Baton Rouge. See R.S. 15:571.15 ("Venue in any action in which an individual committed to the Department of Public Safety and Corrections contests the computation of his sentence or sentences, discharge, good time dates, or any action concerning parole shall be in the parish of East Baton Rouge.") (emphasis added).
Guidry, J., recused.
